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                    13
                                             UNITED STATES DISTRICT COURT
                    14
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    15
                       L.A. PRINTEX INDUSTRIES, INC., a        CASE NO. CV10-4653-VBF (PLAx)
                    16 California corporation,
                                                               Assigned to Hon. Valerie Baker Fairbank
                    17              Plaintiff,
                                                               DEFENDANTS FASHION LIFE,
                    18       v.                                INC. AND KOHL’S
                                                               CORPORATION’S REPLY IN
                    19 KOHL’S CORPORATION a Wisconsin SUPPORT OF THEIR MOTION IN
                       corporation; FASHION LIFE, INC., a      LIMINE NO. 3 TO PRECLUDE
                    20 California corporation erroneously sued INTRODUCTION BY PLAINTIFF
                       herein as TJ SPORTSWEAR &               OF EVIDENCE THAT IT IS THE
                    21 SALES; and DOES 1 through 10,           AUTHOR OF THE DESIGNS IT
                                                               REGISTERED
                    22              Defendants.
                                                               HEARING AND
                    23                                         FINAL PRETRIAL
                                                               CONFERENCE: June 13, 2011
                    24                                         TIME:               2:30 p.m.
                                                               PLACE:              Courtroom 9
                    25
                                                               [Declaration of Daniel C. DeCarlo filed
                    26                                         concurrently herewith.]
                    27                                          TRIAL DATE:         June 28, 2011
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                         4810-8056-1161.4                                             CVIO-4653-VBF (PLAx)
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ATTORNEYS AT LAW                                              DEFENDANTS' REPLY ISO MOTION IN LIMINE NO. 3
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                     1                      MEMORANDUM OF POINTS AND AUTHORITIES
                     2 I.         INTRODUCTION
                     3            Defendants’ Motion seeks an Order that Plaintiff L.A. Printex Industries, Inc.
                     4 (“LAP”) be precluded from presenting evidence that LAP is the author of any
                     5 design set forth in copyright registration VAu 630-830 (the “’830 Registration”), on
                     6 the basis that LAP effectively refused to meet and confer under Local Rule 16-2
                     7 with respect to that issue of fact.
                     8            In its Opposition, LAP admits that it told Defendants that it viewed any
                     9 question of authorship beyond what is set out on the registration form as irrelevant
                    10 and therefore refused to set forth any of the facts or law it might rely on in that
                    11 regard, even when pressed by Defendants’ counsel. On that basis, preclusion of any
                    12 such evidence is appropriate. Metcalf v. Bochco, 200 Fed. Appx. 635, 639 (9th Cir.
                    13 Cal. 2006) (holding that it was not an abuse of discretion for trial judge to exclude
                    14 evidence where a party had failed to comply with Local Rule 16 in regard to that
                    15 evidence).
                    16            LAP contends that Defendants’ Motion is a disguised summary judgment
                    17 motion, and somehow, therefore, inappropriate. (Opposition at 2, 4, 5.) This
                    18 argument is baseless. Defendants seek a specific limited preclusion of evidence
                    19 related to authorship based on LAP’s failure to comply with the local rules with
                    20 respect to disclosure on that issue. That such preclusion could turn out to be case
                    21 dispositive is of no moment. LAP should have considered that before insisting at
                    22 the Local Rule 16-2 conference of counsel that the issue was irrelevant.
                    23 II.        CONTRARY TO LAP’S CLAIM, LOCAL RULE 16-2 REQUIRES A
                    24            PARTY TO DISCLOSE ITS CONTENTION OF FACTS AND LAW
                    25            In its Opposition, LAP states, “there is absolutely no requirement under Rule
                    26 16 that L.A. Printex must summarize the facts of this case to opposing counsel.”
                    27 (Opposition at 2. See also Opposition at 4 (“there is nothing in Rule 16-2 that
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                     1 requires that L.A. Printex’s counsel summarize the presentation of this case to
                     2 Defendants”).)
                     3            It is unclear what LAP might be referring to in its misguided pronouncement
                     4 of its Rule 16 obligations. The rule quite clearly sets forth that LAP is required to
                     5 engage in just the type of activity it states it is not required to engage in:
                     6                   L.R. 16-2 Meeting of Counsel Before Final Pretrial
                                  Conference. At least forty (40) days before the date set for the Final
                     7            Pretrial Conference, lead trial counsel for the parties shall meet in
                                  person and shall accomplish the following:
                     8
                                  …
                     9
                                               L.R. 16-2.8 Contentions of Law and Fact. Each party
                    10            shall disclose to every other party which of the party’s pleaded claims
                                  and defenses the party plans to pursue, together with the party’s
                    11            contentions regarding the applicable facts and law.
                    12 Local Rule 16-2 (emphasis in original, underline added).
                    13            Defendants asked LAP directly what contentions of fact and law it intended to
                    14 make with respect to authorship of the works listed on the ‘830 Registration
                    15 certificate—an issue which even LAP now concedes in its Opposition is a relevant
                    16 consideration. LAP contends it responded: “for the purposes of the Rule 16-2
                    17 meeting that the author was set forth in the registration and the rest was not
                    18 relevant.” (Opposition at 3 n.1.) While Defendants do not agree that this is quite
                    19 what LAP’s counsel said, it is sufficient to establish the crux of Defendants’
                    20 motion—namely, that LAP refused to provide their contentions of facts and law vis-
                    21 a-vis authorship, beyond the information set forth in the registration certificate.
                    22            The fact of the matter remains that LAP, by its own admission, violated the
                    23 Local Rule and failed to meet and confer on its contentions regarding authorship of
                    24 the works set forth in the ‘830 Registration. The appropriate sanction is that LAP be
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                     1 precluded from offering evidence of authorship beyond what is set out in the
                     2 registration.1
                     3 III.       CONCLUSION
                     4            LAP should not be permitted to claim that the authorship of the designs in the
                     5 ‘830 Registration is irrelevant, then come to trial and seek to put on evidence that it
                     6 is the author of those designs. Defendants, therefore, respectfully request that the
                     7 Court issue an Order that LAP be precluded from presenting evidence regarding
                     8 authorship of any design set forth in the ‘830 registration at trial or in support of any
                     9 motion.
                    10
                         DATED: May 30, 2011                   Respectfully submitted,
                    11
                                                               DANIEL C. DECARLO
                    12                                         DEBORAH F. SIRIAS
                                                               JOSHUA S. HODAS
                    13                                         LEWIS BRISBOIS BISGAARD & SMITH LLP
                    14
                    15                                         By: /s/ Daniel C. DeCarlo
                                                                   Daniel C. DeCarlo
                    16                                             Attorneys for Defendant FASHION LIFE,
                                                                   INC.
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                    20                                              Mark D. Brutzkus
                                                                    EZRA BRUTZKUS GUBNER LLP
                    21                                              Attorneys for KOHL’S CORPORATION
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                         Defendants have argued extensively, elsewhere, however, that the registration
                    27 itself should be excluded as there is no competent evidence that it covers the design
                       LAP alleges Defendants have infringed.
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ATTORNEYS AT LAW                                                     DEFENDANTS' REPLY ISO MOTION IN LIMINE NO. 3
